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 5                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,
 7                                              NO. CR-05-180-LRS
                       Plaintiff,
 8

 9                v.                            ORDER DENYING MOTION FOR
                                                RECONSIDERATION
10    DIXIE ELLEN RANDOCK,
      STEVEN KARL RANDOCK,SR.,
11    AMY LEANN HENSLEY,
      HEIDI KAE LORHAN,
12    ROBERTA LYNN MARKISHTUM,
13                     Defendants.
14

15        BEFORE THE COURT is the government’s February 8, 2007 motion for

16   reconsideration (Ct. Rec. 270) of this Court’s January 3, 2007 order (Ct.

17   Rec. 265.)
18        The government asks this Court to reconsider the following portion
19
     of its January 3, 2007 order:
20
          “3. Defendants' Motion to Inspect Original Hard Drive (Ct.
21        Rec. 249) is GRANTED. The original hard drives should be made
          available. The parties shall confer about a protective order
22        concerning such information and the process for inspecting the
          original hard drives. The Court notes that this order does not
23        apply to any child pornography allegedly on the hard drives.”
24
          Ct. Rec. 265 at 6.
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     ORDER - 1
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 1        The government argues that the order gives “the defense blanket
 2   access to all computer hard drives now in or which may come into, the
 3   possession, custody, and control of the government for inspection and
 4   copying.” Ct. Rec. 270 at 1.
 5
          However, as the Defendants correctly point out that “part of the
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     inspection process will be to verify that the EnCase copies are true and
 7
     correct copies of the native hard drives.” Ct. Rec. 277 at 2. This Court
 8
     is confident that such a process can be accomplished without compromising
 9
     the integrity of the hard drives in question. Any protocol for inspection
10
     should include write blocking hardware. The Defendants agree to this
11

12   procedure. The government has the right to be present and participate in

13   the inspection process to ensure that no changes to the hard drives

14   occur. Government oversight should, however, be arranged in a manner

15   which will not involve intrusion into Defendants’ work product.

16        The parties should meet and confer about any unresolved details
17   concerning the inspection process. If an agreement cannot be reached,
18   either party may file a motion for expedited review before this Court.
19
     The Court commends the parties for their continued cooperation during the
20
     discovery phase of this complex case.
21
          For    the   reasons    explained    above,     the    government’s    motion   for
22
     reconsideration (Ct. Rec. 270) is DENIED.
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     ORDER - 2
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 1       IT IS SO ORDERED.      The District Court Executive is directed to
 2 enter this order and to provide copies to all counsel.

 3
         DATED this 3rd        day of April, 2007.
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 5
                                       /s/ Lonny R. Suko
 6                                      _______________________
                                         LONNY R. SUKO
 7                                     United States District Judge
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     ORDER - 3
